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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

JOHN DOE #1–14 and JANE DOE #1–2,

                           Plaintiffs,

      v.

LLOYD AUSTIN, in his official capacity as
Secretary of Defense; XAVIER BECERRA,              Case No. 1:21-cv-01211-AW-HTC
in his official capacity as Secretary of Health
and Human Services; FRANK KENDALL,
in his official capacity as Secretary of the Air
Force; CARLOS DEL TORO, in his official
capacity as Secretary of the Navy; JANET
WOODCOCK, in her official capacity as
Acting Commissioner of the U.S. Food and
Drug Administration; and CHRISTINE
WORMUTH, in her official capacity as
Secretary of the Army,

                           Defendants.

               DEFENDANTS’ OPPOSITION TO
PLAINTIFFS’ MOTIONS FOR A TEMPORARY RESTRAINING ORDER
              AND PRELIMINARY INJUNCTION




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  1.    Secretary of Defense Message to the Force (Aug. 9, 2021)
  2.    Secretary of Defense Memorandum For Senior Pentagon Leadership,
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  3.    Acting Assistant Secretary of Defense for Health Affairs
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        Executive Order 225-21 (“Army FRAGO 5”)
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21.   Declaration of Chaplain, Major Matthew J. Streett
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                                INTRODUCTION

      In warfare, disease has traditionally accounted for more service member

deaths than battlefield injuries. General Washington instituted the first vaccine

mandate for the Continental Army in 1777, and a program to inoculate the troops on

either a routine or situational basis has existed in the American military ever since.

The current Department of Defense immunization program, which has been in place

for decades, requires that all service members obtain nine immunizations, and an

additional eight may be required depending on circumstances like deployment.

      Despite this historical backdrop, Plaintiffs contend that the Secretary of

Defense lacks the authority to add COVID-19 to the list of diseases for which routine

immunizations are required for all service members. The preliminary injunction

Plaintiffs seek is truly extraordinary. They ask this Court to enjoin an inoculation

program that applies to the entire armed forces and to invalidate the Food and Drug

Administration (“FDA”) licensure of a vaccine that is one of the primary tools for

ending the global pandemic.

      Plaintiffs fail to establish any of the requirements for such extraordinary

injunctive relief. Their claims are not ripe and are deeply flawed on the merits.

Plaintiffs do not establish irreparable harm. And the balance of equities and the

public interest weigh against intruding on a decision of the military concerning how

to protect the health and welfare of the troops. Even if applied to just the named


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Plaintiffs, such an injunction would degrade military readiness and undermine the

efforts to combat the deadly coronavirus. For these reasons, set forth further below,

Plaintiffs’ motions should be denied.

                                 BACKGROUND

I.    The COVID-19 Pandemic

      On January 31, 2020, the Secretary of Health and Human Services (“HHS”)

declared a public health emergency because of COVID-19, a respiratory disease

caused by the novel coronavirus named SARS-CoV-2. HHS, Determination that a

Public Health Emergency Exists (Jan. 31, 2020), https://perma.cc/VZ5X-CT5R. On

March 13, 2020, the President declared the COVID-19 outbreak a national

emergency. 85 Fed. Reg. 15,337 (Mar. 13, 2020).

      In July 2021, the United States experienced “a rapid and alarming rise in . . .

COVID-19 case and hospitalization rates,” driven by an especially contagious strain

of SARS-CoV-2 known as the Delta variant. See Centers for Disease Control and

Prevention (“CDC”), Delta Variant (updated Aug. 26, 2021), https://perma.cc/

4RW6-7SGB.        Today, community transmission rates of SARS-CoV-2 are

substantial or high in all fifty states.       See COVID Data Tracker, CDC,

https://covid.cdc.gov/covid-data-tracker/#cases_community (last accessed Oct. 20,




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2021).1 More than 240,000 service members have been infected, more than 2,000

service members have been hospitalized, and 67 service members have died from

COVID-19. Ex. 14 (Decl. of Col. Tonya Rans, M.D.) ¶ 11.

II.   Federal Regulation of and Guidance Concerning COVID-19 Vaccines
      FDA has authority to review and approve “biological products,” including

vaccines. See 42 U.S.C. § 262(a)(1), (i)(1). In an emergency, FDA may issue an

“emergency use authorization” (“EUA”), which authorizes the marketing of

vaccines (and other FDA-regulated products) “intended for use” in responding to the

emergency. 21 U.S.C. § 360bbb-3.

      In March 2020, the Secretary of HHS determined that “circumstances exist

justifying the authorization of emergency use of drugs and biological products

during the COVID-19 pandemic.” EUA Declaration, 85 Fed. Reg. 18,250, 18,250–

51 (Apr. 1, 2020). Based on that determination, FDA issued an EUA for a COVID-

19 vaccine developed by Pfizer, Inc., as well as EUAs for two other COVID-19

vaccines. See Ex. 13 (Decl. of Peter Marks, M.D., Ph.D) Exs. B, C. These EUAs

were based on FDA’s review of extensive safety and efficacy data, including from a

Pfizer clinical trial with approximately 46,000 participants. Id.




1
 The Court may take judicial notice of these statistics and other factual information
available on government websites. See Tellabs, Inc. v. Makor Issues & Rts., Ltd.,
551 U.S. 308, 322–23 (2007).

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      On August 23, 2021, Pfizer’s COVID-19 vaccine, under the name Comirnaty,

obtained FDA approval for intended use by people aged 16 years and older even

outside the “emergency” context pertinent to the EUA. Id. at Ex. A. This means

that the vaccine successfully completed “the agency’s standard process for

reviewing the quality, safety and effectiveness of medical products.” 2 FDA, News

Release – FDA Approves First COVID-19 Vaccine (Aug. 23, 2021),

https://perma.cc/C4DD-PWE5.

      FDA concluded that the Pfizer vaccine was safe based on data evaluating the

vaccine in approximately 22,000 people who received the vaccine and 22,000 people

who received a placebo, 16 years of age and older. Approximately 12,000 vaccine

recipients were followed for safety outcomes for at least six months after receiving

their second dose of the vaccine, and FDA also considered safety information from

the millions of vaccine doses administered under the EUA. FDA, Comirnaty

Approved     Prescribing   Information    at   12,   https://perma.cc/P87N-YGX2.

https://perma.cc/P87N-YGX2. FDA further determined the vaccine was 91.1%

effective in preventing COVID-19 disease and between 95% and 100% effective in

preventing severe COVID-19, based on an analysis of effectiveness data from

approximately 20,000 vaccine and 20,000 placebo recipients. Id. at 15–18; see also


2
 “Even after FDA approved Comirnaty, FDA authorized continued use of the Pfizer-
BioNTech Covid-19 vaccine under an EUA for indications that included the
approved use.” Ex. 13 ¶ 8.

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Ex. 13 ¶¶ 16–20.

      Also on August 23, 2021, FDA issued responses to three citizen petitions

regarding the COVID-19 vaccines. In two of the responses, FDA addressed the

petitioners’ expressed safety concerns with vaccinating individuals who have had

COVID-19, finding that their assertions had no scientific basis or were unsupported

by the cited sources. See FDA, Response to Citizen Petition, at 13–15 (Docket No.

FDA-2021-P-0529) (Aug. 23, 2021); FDA Response to Citizen Petition, at 8 n.31

(Docket No. FDA-2021-P-0786) (Aug. 23, 2021). FDA also addressed a petitioner’s

expressed concern with the efficacy of the COVID-19 vaccine for individuals who

have had COVID-19, stating that while “there is scientific uncertainty about the

duration of protection provided by previous natural infection, . . . the scientific

community believes that vaccines may provide a longer duration of protection than

that provided by natural infection.” FDA Response to Citizen Petition, at 8 n.31

(Docket No. FDA-2021-P-0786) (Aug. 23, 2021).

      In addition, the CDC has recommended that individuals who have already had

COVID-19 get vaccinated. See CDC, Frequently Asked Questions about COVID-

19 Vaccination (updated Oct. 13, 2021), https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/faq.html. The CDC based this recommendation on a study that

“showed that unvaccinated people who already had COVID-19 are more than 2

times as likely than fully vaccinated people to get COVID-19 again.” Id. (citing


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Cavanaugh, Alyson, et al., Reduced Risk of Reinfection with SARS-CoV-2 After

COVID-19 Vaccination — Kentucky, May–June 2021, Morbidity & Mortality

Weekly          Report,       70(32):1081–83         (Aug.        13,        2021),

http://dx.doi.org/10.15585/mmwr.mm7032e1).

III.    Department of Defense COVID-19 Vaccine Directive
        The U.S. military instituted its first vaccination program in 1777 when

General Washington directed the inoculation of the Continental Army to protect

personnel from smallpox. 3 Deaths due to infectious diseases outnumbered those due

to direct combat injuries until World War II. Id. And more recently, disease

accounted for nearly 70% of U.S. Army Hospital admissions during the Persian Gulf

War.     Id., see also Table 1-2 (showing infectious disease threats for various

conflicts). Military-mandated vaccines have played a key role in reducing infectious

disease morbidity and mortality among military personnel.         Accordingly, for

decades, the military has implemented a variety of enduring or situational

inoculation measures to maintain the readiness of the force. Ex. 12 (Congressional

Research Report Defense Health Primer: Military Vaccinations).




3
 Lemon S, Thaul S, Fisseha S, O’Maonaigh H, editors, Protecting Our Forces:
Improving Vaccine Acquisition and Availability in the US Military, National
Academies Press, 2002, available at https://perma.cc/E545-TQ9G last check Oct.
21, 2021.

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       The Department of Defense’s (“DoD”) current immunization program is

governed by DoD Instruction (“DoDI”) 6205.02. Certain vaccines are required for

all service members while others are required when certain elevated risk factors are

present. See Ex. 5 (Army Regulation (“AR”) 40-562), Table D-1. The policy states

that DoD will make immunization requirements and eligibility determinations for

service members in accordance with recommendations from the CDC and its

Advisory Committee on Immunization Practices. Ex. 4 (DoDI 6205.02) at 3. The

Military Services have separately issued regulatory guidance for the administration

of vaccines to service members including establishing a process by which service

members may seek, and the Services may grant, medical or administrative

exemptions to vaccine requirements. See Ex. 5, Chapter 2.6.

      On August 9, 2021, Secretary of Defense Lloyd Austin, noting the rise in

infection rates due to the Delta variant of COVID-19 and the impact these rates

might have on military readiness, announced that he would add the COVID-19

vaccine to the list of vaccines required for all service members by the earlier of mid-

September or upon full approval by the FDA. See Ex. 1 (Mem. for all Defense

Employees (Aug. 9, 2021)). On August 24, 2021, after the FDA announced full

approval of the Pfizer COVID-19 vaccine, Secretary Austin directed the Secretaries

of the Military Departments to immediately begin full vaccination of all members of

the armed forces under DoD authority who were not fully vaccinated against


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COVID-19. See Ex. 2 (Mem. For Senior Pentagon Leadership, Commanders of the

Combatant Commands, Defense Agency and DoD Field Activity Directors (Aug.

24, 2021)). Only vaccines that have received full licensure from the FDA are

required. Id. Service members with a previous COVID-19 infection are not

considered fully vaccinated. Id.

      Shortly thereafter, the Military Services began issuing guidance for

implementing the Secretary’s directive. The implementation guidance for each

Service provides for a process for a service member to seek medical, administrative,

and religious exemptions.      See Ex. 6 (Fragmentary Order (“FRAGO”) 5 to

Headquarters Department of the Army Executive Order 225-21) ¶ 3.D.8.B.1; Ex. 8

(NAVADMIN 190/21) ¶ 3.d; Ex. 9 (MARADMIN 462/21) ¶¶ 3j, 3k; Ex. 11 (Dep’t

of the Air Force COVID-19 Vaccine Implementation Guidance (Sept. 3, 2021)) ¶

4.5, 5.1. If a service member refuses vaccination and does not have an approved

exemption, that service member may be subject to discipline and adverse

administrative action. See, e.g., Ex. 6 ¶¶ 3.D.8.B.1.D, 3.D.8.B.1.E. However,

adverse action will not be taken against a service member with a pending exemption

request. Id. And each Service specifically withholds adverse action against a service

member who refuses vaccination from unit commander to higher (and in several

instances centralized) authority. See Ex. 6 ¶ 3.D.8.B.1; Ex. 8 ¶ 3.e.(5); Ex. 9 ¶ 3.n;




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Ex. 10 (Secretary of Air Force Memorandum for Air Force Commanders (Sept. 3,

2021)).

IV.     Procedural History
        On October 6, 2021, sixteen service members, who have moved to proceed

anonymously,4 filed suit against DoD, the Military Services, HHS, and FDA. See

ECF No. 1; Corrected Compl., ECF No. 6.

        Plaintiffs raise 11 claims, including that DoD’s COVID-19 vaccine directive

and the Military Services’ implementation guidance are arbitrary and capricious and

contrary to law under the Administrative Procedure Act (“APA”) (Counts 1 and 5,

as well as Count 6 against DoD only), id. ¶¶ 108–112, and violate statutes governing

investigational new drugs (“INDs”), 10 U.S.C. § 1107, and emergency use products,

10 U.S.C. § 1107a, 21 U.S.C. § 360bbb-3 (Count 2), id. ¶¶ 113–117. Plaintiffs

further allege that the DoD directive violates their substantive due process and equal

protection rights (Count 7 and 9), id. ¶¶ 144–153, 159–164, and imposes

unconstitutional conditions (Count 8), id. ¶¶ 154–158. Plaintiffs allege that the FDA

violated the APA by approving a Biologics License Application for Comirnaty

(Counts 3 through 6), id. ¶¶ 118–143. And Plaintiffs raise claims under 42 U.S.C. §

1983 (Count 10). Id. ¶¶ 165–167. Finally, Plaintiffs allege that the DoD directive




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    On October 20, 2021, Defendants filed an opposition to that motion.

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and FDA’s Comirnaty approval violate “separation of powers and federalism”

(Count 11). Id. ¶¶ 168–171.

      Six weeks after Secretary Austin issued the vaccine mandate, on October 6,

2021, Plaintiffs filed their first “emergency” motion for an administrative stay,

declaratory judgment, temporary restraining order, and preliminary injunction. See

Pls.’ Mot., ECF No. 3. In support of that motion, Plaintiffs raise only their statutory

claims (Counts 1 through 6). See Pls.’ 1st Br., ECF No. 3-2. Plaintiffs request that

the Court “immediately grant an administrative stay of the DOD and FDA

proceedings” and “issue a declaratory judgment, and enter a TRO and/or preliminary

injunction against the DOD Vaccine Mandate, the Armed Services’ implementation

thereof to Plaintiffs, and the FDA Comirnaty Approval.” Id. at 33; see also Proposed

Order ¶ 2, ECF No. 3-1. Plaintiffs also urge the Court to enjoin DoD and the Military

Services from “taking any adverse employment or disciplinary actions against

Plaintiffs for non-compliance” with the DoD mandate. 5 Proposed Order ¶ 2, ECF

No. 3-1.

      Two days later, on October 8, 2021, Plaintiffs filed a second motion seeking

the same relief, but relying on Plaintiffs’ constitutional claims (Claims 7 through

11). See Pls.’ Mot., ECF No. 10.; Pls.’ 2nd Br., ECF No. 11.



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  The proposed order also appears to request one form of additional relief, but the
clause is incomplete. See Proposed Order ¶ 2, ECF No. 3-1.

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      Plaintiffs’ proposed orders seek relief for themselves and “similarly situated

Plaintiffs,” Proposed Order ¶ 2, ECF No. 3-1, Proposed Order ¶ 2, ECF No. 10-1—

effectively seeking a nationwide injunction—but Plaintiffs’ counsel clarified at a

hearing on October 8, 2021, that they are seeking relief only for the sixteen

individual Plaintiffs. Tr. 11:14–12:4 (Oct. 8, 2021).

                              LEGAL STANDARDS

      “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008). To justify this “drastic

remedy,” the movants must “clearly establish[] the burden of persuasion” on the

following four elements: (1) Plaintiffs have a substantial likelihood of success on the

merits; (2) there is a substantial threat that Plaintiffs will suffer irreparable injury

absent an injunction; (3) the threatened injury to Plaintiffs outweighs the damage an

injunction would cause to Defendants; and (4) the injunction would not be adverse

to the public interest. Davidoff & CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1300

(11th Cir. 2001); Ga. Advoc. Off. v. Jackson, 4 F.4th 1200, 1208 (11th Cir. 2021);

Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225 (11th Cir. 2005) (same

standard for TRO); Scroos LLC v. Att’y Gen. of U.S., 2020 WL 5534281, at *2 (M.D.

Fla. Aug. 27, 2020) (same standards for a stay under 5 U.S.C. § 705). “Failure to

show any of the four factors is fatal[.]” ACLU of Fla., Inc. v. Miami-Dade Cty. Sch.

Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).


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                                   ARGUMENT

I.    Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims.
      This Court lacks jurisdiction over this case, because Plaintiffs’ claims are not

ripe and they lack standing to challenge the FDA approval and authorization action.

The lack of jurisdiction forecloses any finding of substantial likelihood of success

on the merits. See Digital Properties, Inc. v. City of Plantation, 121 F.3d 586, 591

n.5 (11th Cir. 1997). Even if Plaintiffs could establish jurisdiction, they cannot show

they are likely to succeed on the merits of any of their claims. Accordingly, the case

should be dismissed in its entirety.

      A.     Plaintiffs’ Claims Are Not Ripe.
      Plaintiffs’ claims are not ripe because no plaintiff has exhausted available

administrative remedies. See Elend v. Basham, 471 F.3d 1199, 1205 (11th Cir.

2006) (“ripeness present[s] the threshold jurisdictional question”). The

circumstances of Plaintiffs whose identities are known to Defendants confirm they

have failed to exhaust their administrative remedies, either because they did not

apply for a relevant exemption or because they sued before their requests for

exemptions had been finally adjudicated. See Ex. 29 (chart explaining why each

Plaintiff lacks a ripe claim). Plaintiffs’ claims are also not ripe because none have

been subject to final disciplinary action, much less exhausted appeals through

available administrative processes.



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      Here, Plaintiffs’ claims must be particularly scrutinized for ripeness because

the “military occup[ies] a unique position” with “specialized regulations and

procedures, including military administrative procedures.” Frame v. United States,

2010 WL 883804, at *2 (N.D. Fla. Mar. 5, 2010). “Until Plaintiff has received a

decision from the military, judicial review of his claim, even if available, has not

arisen.” Id. at *2.

      Claims of Plaintiffs who have pending exemption requests are not ripe

because they will be exempted from the COVID-19 vaccination requirement if that

exemption is granted. They also will not be subject to any adverse employment or

disciplinary action while their requests are pending. Ex. 17 (Decl. of William Merz)

¶¶ 9, 12; Ex. 18 (Decl. of David Furness) ¶¶ 9, 12; Ex. 16 (Decl. of Michele Soltis)

¶¶ 8, 14; Ex. 21 (Decl. of Matthew Streett) ¶ 13. Accordingly, any harm from

receiving the vaccine or facing adverse discipline action rests “upon contingent

future events that may not occur as anticipated, or indeed may not occur at all.” Nat’l

Park Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003).

      Medical exemptions may be available for those with underlying health

conditions like “immune competence, pharmacologic or radiation therapy,

pregnancy, and/or previous adverse response to immunization.” Ex. 5 ¶ 2–6 a.(1)(a).

Each Service each has a process for reviewing medical exemption requests, exempts

members while that request is pending, and some have a process for a second opinion


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or appeals if a request is initially denied. Ex. 16, ¶¶ 10–13 (Army); Ex. 17, ¶ 6–10

(Navy); Ex. 18, ¶ 7–11 (Marines); Ex. 20 (Decl. of Col. Artemio Chapa) ¶ 8 (Air

Force). Of the identified Plaintiffs, only John Doe #10 has applied for a medical

exemption. See Ex. 26 (Decl. of Sarah Brehm) ¶ 6 (John Doe #10 does not appear

to have sought a second opinion and subsequently requested a religious

accommodation).

      Similarly, service members who request religious exemptions are excused

from the required immunization while their requests are pending. See e.g., Ex. 5

¶ 2–6 b.(3). And if an initial request is denied, each branch has an appeal process.

Ex. 16, ¶ 14 (Army); Ex. 17, ¶ 11 (Navy); Ex. 18, ¶ 12.b (Marines); Ex. 21, ¶¶ 12–

13 (Air Force). None of the identified Plaintiffs’ religious exemption requests have

been denied, and no Plaintiff has completed the appeal process for a requested

exemption. See Ex. 23 (Decl. of William McWaters) ¶ 4.f. (John Doe #1); Ex. 27

(Decl. of Joseph Langan) ¶¶ 13–14 (John Doe #2); Ex. 29 (Decl. of Lt. Col. Richard

Turner) ¶¶ 3–5 (John Doe #9); Ex. 26 ¶¶ 7–8 (John Doe #10).

      Another Plaintiff, John Doe #7, has challenged the lawfulness of his order to

be vaccinated through the military administrative process. His claim cannot be ripe

until that process is complete.

      Plaintiffs’ only potential “hardship” while waiting is uncertainty as to the

outcome of the exemption request, and that kind of uncertainty is not enough to


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demonstrate ripeness. See Isenbarger v. Farmer, 463 F. Supp. 2d 13, 20–21 (D.D.C.

2006) (uncertainty of time required to stay on active duty not sufficient to show

ripeness); see also Nat’l Parks Hospitality Ass’n, 538 U.S. at 811 (explaining that if

“mere uncertainty” constituted hardship “courts would soon be overwhelmed with

requests for what would essentially be advisory opinions”).

      Even if the exemption requests are denied, Plaintiffs refuse to comply, and

then face adverse action, the military has administrative procedures that offer

Plaintiffs multiple opportunities to present their arguments to their Service and for

their Service to respond. See Decl. of Elizabeth Hernandez, Ex. 22 ¶¶ 3–14 (Air

Force); Ex. 16, ¶¶ 16–18 (Army); Ex. 17, ¶ 13–17 (Navy); Ex. 18, ¶¶ 13–21

(Marines).   Anyone subject to discipline can challenge the lawfulness of the

vaccination requirement in those military proceedings. See United States v. Kisala,

64 M.J. 50 (C.A.A.F. 2006) (allowing a challenge to the lawfulness of an anthrax

vaccination requirement). For adverse action less than discharge, each Service has

administrative procedures that can provide relief. See Ex. 22 ¶ 6–8 (Air Force); Ex.

16, ¶¶ 16–18 (Army); Ex. 17, ¶¶ 11, 17 (Navy); Ex. 18, ¶ 12–18 (Marines). And

should any Plaintiffs be discharged for non-compliance with the DoD mandate, they

can appeal to the applicable Discharge Review Boards and Boards of Correction of

Military Records. See Ex. 22, ¶ 9–14 (Air Force) Ex. 16, ¶¶ 16–18 (Army); Ex. 17,

¶ 18 (Navy); Ex. 18, ¶ 22 (Marines). As many courts have held, until those processes


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are complete, Plaintiffs’ claims are not ripe. See Shaw v. Austin, 2021 WL 1840397,

at *10 (D.D.C. May 1, 2021); Standage v. Braithwaite, WL 1060342, at *31 (D. Md.

Mar. 18, 2021); Diraffael v. California Mil. Dep’t, 2011 WL 13274364, at *3 (C.D.

Cal. Mar. 21, 2011); Vaughan v. Kentucky Army Nat. Guard, 2013 WL 211075, at

*6 (E.D. Ky. Jan. 18, 2013).

       Finally, this Court should not consider any anonymous declarations of persons

not disclosed to Defendants. “To carry [their] burden,” the movants “must offer

proof beyond unverified allegations in the pleadings”; “vague or conclusory

affidavits” will not suffice. Palmer v. Braun, 155 F. Supp. 2d 1327, 1331 (M.D. Fla.

2001). The parties have agreed to a protective order, which the Court issued. ECF

No. 29. Plaintiffs provided the identities of some declarants, but there are many

others—including Jane Does 1 and 2, and John Does 3, 6, 7, 8, 12, and 14—who are

still unknown. The Court should not consider these anonymous declarations as

reliable facts.

       Where Plaintiffs’ identities are known their declarations often provide

incomplete descriptions of ongoing administrative proceedings. For example, John

Doe #2 claimed that he was “subjected to an Article 15, disciplinary action for

defying a ‘lawful order’ and for merely requesting to receive a fully licensed and

approved vaccine.” Decl. John Doe 2 ¶ 6, ECF No. 1-19. But after receiving his

name, the Air Force investigated and discovered that Article 15 proceedings were


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initiated against him because he failed to receive the vaccine or request a religious

exemption by a specific deadline in a written order. Ex. 27 ¶¶ 7–9. After John Doe

#2 submitted a religious exemption request, the officer overseeing the Article 15

terminated the proceedings. 6 Id. ¶ 13. Until the exemption request process is

complete, John Doe #2 has a temporary exemption and would not face any additional

adverse action. Ex. 21 ¶ 12. But Defendants could not have discovered those critical

facts without John Doe #2’s identity.

         B.    DoD’s Directive Complies with the APA.
         Plaintiffs raise several APA claims and contend these are grounds for

enjoining Secretary Austin’s decision to add the FDA-approved COVID-19 vaccine

to the list of inoculations required by service members. Each argument is without

merit.

               1. The Secretary Has Clear Legal Authority to Issue the Directive.

         First, Plaintiffs question the Secretary’s authority to issue a vaccine directive

to members of the armed forces and claim that he bypassed Congress and the States

with its issuance. Pls.’ 2nd Br. 24. But the “Constitution emphatically confers

authority over the military upon the executive and legislative branches of

government.” Aktepe v. United States, 105 F.3d 1400, 1403 (11th Cir. 1997), and


6
  The commander instead provided a Letter of Reprimand, which has not been
finalized, for not complying with the order to submit the exemption request by the
deadline. Ex. 27 ¶ 13.

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there has been no requirement for the leaders of the armed forces to consult with the

States on matters of military readiness since its enactment. See Federalist Papers 29

(“It is, therefore, with the most evident propriety, that the plan of the convention

proposes to empower the Union to provide for organizing, arming, and disciplining

the militia, and for governing such part of them as may be employed in the service

of the United States….”).

      Under this authority, Congress has long since delegated the responsibility for

the manning, equipping, and training of the armed forces to the Military Service

Secretaries. See 10 U.S.C. § 7013 (Department of Army); 10 U.S.C. § 8013

(Department of Navy); 10 U.S.C. § 9013 (Department of Air Force). This authority

specifically includes administering to the “welfare” of service members. Id. And it

has been used to institute vaccine mandates for service members during more than

two centuries of armed conflict. Ex. 12. In the National Security Act of 1947,

Congress put these authorities under the direction, authority, and control of the

Secretary of Defense. See 50 U.S.C. § 3002 (setting forth congressional purpose in

enacting the National Security Act of 1947 as placing the Military Services under

the direction, authority, and control of the Secretary of Defense); 10 U.S.C. § 113(b);

see also 10 U.S.C. §§ 7013 (b)(9), 8013 (b)(9), 9013 (b)(9).

      Utilizing this authority, delegated directly from Congress, the Secretary of

Defense created DoD’s Immunization Program. See Ex. 4 at 5. Contrary to


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Plaintiffs’ speculation, this is not an unheralded program but one that existed for

decades prior to the COVID-19 pandemic. See id. at 1. The current immunization

program requires service members to obtain multiple immunizations to be

considered medically ready for worldwide deployment, including a requirement for

service members to receive the annual influenza vaccine. Id. at 3. The COVID-19

vaccination is one of many immunizations required of service members pursuant to

these authorities.

      Next, Plaintiffs argue that DoD’s directive violates 10 U.S.C. § 1107 and

§ 1107a and 21 U.S.C. § 360bbb-3.7 Pls.’ 1st Br. 13–15; Compl. ¶ 114. But

Plaintiffs misunderstand those provisions. As shown above, Congress has given the

Secretary of Defense and Military Services wide latitude in establishing a

vaccination program for the armed forces. That authority has only been restricted

by 10 U.S.C. § 1107 and § 1107a, which require informed consent in certain limited

circumstances that are not applicable to the facts of this case.

      Section 1107 concerns “investigational new drug[s]” and “drug[s]

unapproved for [their] applied use”; service members may not be required to take


7
  Although Plaintiffs appear to have alleged these statutory violations as a stand-
alone claim, Compl. ¶¶ 113–17, because none of these statutes contain a private right
of action, see, e.g., Norman v. Campbell, 87 F. App’x 582, 584 (7th Cir. 2003), an
action seeking review of these allegedly unlawful agency actions may only be
brought under the APA, which is the presumptive mechanism for reviewing agency
action, see Douglas v. Indep. Living Ctr. of S. Cal., Inc., 565 U.S. 606, 614–15
(2012).

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those drugs unless certain procedures are followed. 10 U.S.C. § 1107(a), (g); see

also 21 U.S.C. § 355(i) (defining investigational new drugs as those used in clinical

trials); Gallagher v. FDA, 2019 WL 6312008, at *2 (D.D.C. Nov. 25, 2019); Ex. 13

¶ 7 n.2. DoD’s directive does not implicate this provision, as none of the COVID-

19 vaccines provided to service members are provided as investigational new drugs

in the context of clinical trials or drugs unapproved for their applied use. See Ex. 13

¶¶ 7, 7 n.2; see also Doe v. Rumsfeld, 297 F. Supp. 2d 119, 132 (D.D.C. 2003) (“Title

10 U.S.C. § 1107 and the attendant DoD regulation apply only if the FDA

determines that [the vaccine] is an investigational drug or a drug unapproved for its

present purpose.”).

      10 U.S.C. § 1107a and 21 U.S.C. § 360bbb-3 concern products authorized for

“emergency use,” which are separate and distinct from the drugs described in 10

U.S.C. § 1107. DoD’s directive does not contravene any of these statutes because,

the Secretary’s memorandum makes clear, “Mandatory vaccination against COVID-

19 will only use COVID-19 vaccines that receive full licensure...in accordance with

FDA-approved labeling and guidance.” Ex. 2. Implementation guidance from the

Services contain similar provisions. See Ex. 6 ¶ 3.D.8.A; Ex. 7 (ALNAV 062/21)

¶ 3; Ex. 8 ¶ 2; Ex. 9 ¶ 3.b; Ex. 11 ¶ 3.1.1.

      FDA approved Pfizer’s Biologics License Application (“BLA”) for its

vaccine to prevent COVID-19 in individuals 16 years of age and older, meaning that


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it has received licensure for that use. Ex. 13 ¶ 6. FDA determined that “[t]he

licensed vaccine has the same formulation as the EUA-authorized vaccine and the

products can be used interchangeably to provide the vaccination series without

presenting any safety or effectiveness concerns.” Id. ¶ 9. DoD relied on this

determination to instruct its health care providers. Ex. 3 (Acting Assistant Secretary

of Defense Memorandum).

      In addition, FDA considers vaccines produced at facilities listed in Pfizer’s

BLA “to be manufactured in compliance with the BLA and they are not subject to

the EUA requirements when used for the approved indication.” Ex. 13 ¶ 13. FDA

has recognized that some of these vaccines may still bear the EUA label even though

they are BLA-compliant. Id. (“[The] conditions in the Letter of Authorization for

the EUA—including the condition requiring vaccination providers to provide

recipients with the Fact Sheet for Recipients, which advises recipients that ‘under

the EUA, it is your choice to receive or not receive the vaccine’—do not apply when

these lots or other BLA-compliant lots are used for the approved indication”). “As

of October 16, 2021, the DoD has in its possession hundreds of thousands of BLA-

compliant vaccine doses that are EUA-labeled, and is using them.” Ex. 14 ¶ 18.

Accordingly, because the DoD directive only requires service members to be

vaccinated with licensed vaccines, Plaintiffs do not have a likelihood of success on

the merits of their informed consent claim. See Norris v. Stanley, 2021 WL 3891615,


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at *2 (W.D. Mich. Aug. 31, 2021) (no likelihood of success on EUA claim because

it “would be moot” if offered the FDA-approved Pfizer vaccine); Valdez v. Grisham,

WL 4145746, at *4 (D.N.M. Sept. 13, 2021) (rejecting claim that state vaccine

mandate violated the EUA statute because “the FDA has now given its full approval

– not just emergency use authorization – to the Pfizer vaccine”).

            2. Notice and Comment Rulemaking Is Not Required.

      Next, Plaintiffs claim that the Secretary’s directive violates the APA because

it allegedly modified Army Regulation 40-562 without going through notice and

comment rulemaking procedures. Pls.’ 1st Br. 10–12. But Congress has specifically

exempted agency policy involving a “military or foreign affairs function of the

United States” from the APA’s rulemaking provisions. 5 U.S.C. § 553(a)(1). DoD

and the Military Services issue hundreds of Directives, Instructions, and Manuals

pertaining to the manning, equipping, and training of the armed forces—none of

which are subject to notice and comment. 8 The Secretary’s directive requiring

service members to receive the approved COVID-19 vaccination (unless otherwise

exempt) to maintain the medical readiness of the force is one of many issuances

falling within this exemption. See, e.g., United States v. Mingo, 964 F.3d 134 (2d

Cir. 2020) (DoD designation of military offenses constituting a sex offense falls



8
   DoD Issuances are available online at https://www.esd.whs.mil/DD/DOD-
Issuances/ last checked October 21, 2021.

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within military function exemption of 5 U.S.C. § 553(a)(1)); McDonald v. McLucas,

371 F. Supp. 837 (S.D.N.Y. 1973); Am. Fed’n of Gov’t Employees v. McNamara,

291 F. Supp. 286, 69 (M.D. Pa. 1968).9

      Further, as previously discussed, Part B.1., the Secretary of Defense

unequivocally has the authority to modify an Army regulation. Moreover, the

Secretary’s memorandum does not eliminate the procedures for service members to

obtain a medical exemption, Pls.’ 1st Br. 11–12; it incorporates them. Ex. 2

(vaccination requirement “subject to any identified contraindications and any

administrative or other exemptions established in Military Department policy”); see

also Ex. 6 (allowing soldiers to pursue exemptions in AR 40-562).

            3. The Secretary’s Action Was Plainly Reasonable.

      Plaintiffs also contend that the Secretary’s decision was arbitrary and

capricious. Pls.’ 1st Br. 12–13. The Court’s review of any agency action under 5

U.S.C. § 706(2)(A) must be “deferential” and “narrow.” Dep’t of Commerce v. New

York, 139 S. Ct. 2551, 2569 (2019). The Court “may not substitute its own policy

judgment for that of the agency,” but “simply ensures that the agency has acted



9
  In addition to being exempt from normal rulemaking procedures as a military
function, the DoD directive is also “a matter relating to agency management or
personnel” and is therefore exempt from rulemaking provisions pursuant to 5 U.S.C.
§ 553(a)(2). See Harmon v. Thornburgh, 878 F.2d 484 (D.C. Cir. 1989) (DOJ drug-
free workforce plan exempt from rulemaking requirements as a matter related to
agency management or personnel under 5 U.S.C. § 553(a)(2)).

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within a zone of reasonableness” and “has reasonably considered the relevant issues

and reasonably explained the decision.” FCC v. Prometheus Radio Project, 141 S.

Ct. 1150, 1158 (2021). The requirement of “reasoned decisionmaking” means that

“agency action is lawful only if it rests ‘on a consideration of the relevant factors.’”

Michigan v. EPA, 576 U.S. 743, 750 (2015).

      In the present setting, the Court’s review must be even more deferential.

Judicial review of claims involving the “complex, subtle, and professional decisions

as to the composition, training, equipping, and control of a military force,” Gilligan

v. Morgan, 413 U.S. 1, 10 (1973), is highly constrained. Rostker v. Goldberg, 453

U.S. 57, 66 (1981) (Because of the “healthy deference to legislative and executive

judgments in the area of military affairs,” courts employ a relaxed scrutiny in

reviewing military policy.); Aktepe, 105 F.3d at 1403 (“[T]he political branches of

government are accorded a particularly high degree of deference in the area of

military affairs.”); see also Winck v. England, 327 F.3d 1296, 1302–04 (11th Cir.

2003). “This deferential standard is calculated to ensure that the courts do not

become a forum for appeals” for every military member, “a result that would

destabilize military command and take the judiciary far afield of its area of

competence.” Stewart v. Spencer, 344 F. Supp. 3d. 147, 153 (D.D.C. 2018)

(applying deferential standard to service member APA claims) (quoting Cone v.

Caldera, 223 F.3d 789, 793 (D.C. Cir. 2000)); see also Orloff v. Willoughby, 345


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U.S. 83, 94 (1953). “The merits of a service secretary’s decision regarding military

affairs are unquestionably beyond the competence of the judiciary to review.”

Daniels v. United States, 947 F. Supp. 2d 11, 19 (D.D.C. 2013) (quoting Adkins v.

United States, 68 F.3d 1317, 1322 (Fed. Cir. 1995)).

          Under this highly deferential standard of review, Plaintiffs’ APA claim easily

fails.     DoD policy—long predating the COVID-19 pandemic—is to “make

immunization requirement and eligibility determinations for DoD personnel in

accordance with recommendations from the [CDC] and its Advisory Committee on

Immunization Practices.” Ex. 4 at 3. In accordance with this policy, military

regulations require 17 vaccinations either upon service entry, as part of a routine

immunization cycle during service, or upon elevated risk factors. See AR 40-562,

Table D-1. And currently the “CDC recommends everyone 12 years and older

should get a COVID-19 vaccination to help protect against COVID-19.”10

          In his August 9, 2021 memorandum the Secretary noted the rise in COVID-

19 infection rates due to the Delta variant, and after “consult[ing] closely with the

Chairman of the Joint Chiefs of Staff, the Secretaries of the Military Departments,

the Service Chiefs, and medical professionals[],” he announced his intention to “seek

the President’s approval to make the vaccines mandatory no later than mid-


10
 https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/recommendations/adolescents.html?s_cid=11369:cdc%20children%
20covid%20vaccine:sem.ga:p:RG:GM:gen:PTN:FY21 last checked Oct. 21, 2021.

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September, or immediately upon the [FDA] licensure, whichever comes first.” Ex.

1. Then, upon FDA approval of the Pfizer vaccine and “[a]fter careful consultation

with medical experts and military leadership, and with the support of the President,”

Secretary Austin “determined that mandatory vaccination against coronavirus

disease 2019 (COVID-19) is necessary to protect the Force and defend the American

people.” Ex. 2. Accordingly, the Secretary added the FDA-approved COVID-19

vaccine to the list of “[m]andatory vaccinations [] familiar to all of our Service

members,” id., consistent with DoD policy. Ex. 4 at 3. This is more than enough to

substantiate the Secretary’s decision. Robert v. Austin, 21-cv-2228 (D. Colo. 2021),

Order Denying Temporary Restraining Order, ECF 12 (denying a temporary

restraining order of the DoD vaccine mandate where plaintiffs made similar

arguments); Mazares v. Dep’t of Navy, 302 F.3d 1382, 1385 (Fed. Cir. 2002) (“The

military has broad authority and discretion in dealing with its personnel, both

military and civilian, including the protection of their health.”).

      Plaintiffs offer the testimony of their putative expert, Dr. Jane Ruby, that the

COVID-19 vaccination will interfere in “the course of [service member] duties to

protect the American people, the American homeland and the U.S. Constitution.”

ECF No. 1-18 at 3. But this is exactly the type of “expert testimony” the Supreme

Court has dismissed in the military context as “quite beside the point,” Goldman v.




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Weinberger, 475 U.S. 503, 509 (1986), and chastised district courts for “palpably

exceed[ing] [their] authority” for “relying on,” Rostker, 453 U.S. at 81.

       Plaintiffs also seem to take issue with the timing of the Secretary’s directive,

noting that it was issued “the very next day” after the FDA approval of Comirnaty.

Pls.’ 1st Br. 12. Plaintiffs’ baseless speculation that the timing of the Secretary’s

announcement is suspect should be rejected. When put into context with the

Secretary’s August 9, 2021 memorandum, noting the rise in COVID-19 infection

rates, and his previously announced intention to institute a vaccination requirement

“immediately upon the [FDA] licensure[,]” an order issued the day after licensure

should not have been a surprise, much less suspect. Ex. 1 (noting that public

reporting suggested that the Pfizer-BioNTech vaccine would soon receive full FDA

licensure). See Dodson v. Dep’t of Army, 988 F.2d 1199, 1204 (Fed. Cir. 1993)

(“[M]ilitary administrators are presumed to act lawfully and in good faith like other

public officers, and the military is entitled to substantial deference in the governance

of its affairs.”). 11


11
   Judicial review of agency action is limited to “the whole record or those parts of
it cited by the party.” 5 U.S.C. § 706; Fla. Power & Light Co. v. Lorio, 470 U.S.
729, 743-44 (1985). Plaintiffs seek to present their own extra record material and to
obtain extra record material through discovery. Pls.’ 1st Br. 26. However,
supplementation of the record is inappropriate absent strong evidence of bad faith.
Marllantas, Inc. v. Rodriguez, 806 F. App’x 864, 867 (11th Cir. 2020). In any event,
Plaintiffs’ request is premature as Defendants have not produced an administrative
record and would not be required to do so until after the Court rules on a forthcoming
motion to dismiss.

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      C.     Plaintiffs Cannot Show a Likelihood of Success on Their Claims
             Against FDA.
      Plaintiffs cannot establish a likelihood of success on their statutory challenges

to the FDA approval of the BLA for the Pfizer COVID-19 vaccine because they lack

standing and the agency’s scientific determination that approval was appropriate is

reasonable. Plaintiffs’ challenge to the determination that the EUA vaccine and the

licensed vaccine are medically interchangeable also fails.

               1. Plaintiffs Lack Standing to Challenge the FDA’s BLA Approval.
      Plaintiffs cannot challenge the FDA actions here for the same reasons

explained above – they are not currently suffering any injury. See supra Part I.A.

And even if Plaintiffs could challenge the DoD directive, their injury is not traceable

to FDA, nor redressable by an order against FDA. See Null v. FDA, 2009 WL

10744069, at *3 (D.D.C. Nov. 10, 2009) (rejecting argument that a New York

vaccine mandate was fairly traceable to FDA’s approval of a vaccine); see also

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013). None of the DoD mandate

case law cited by Plaintiffs specifically discusses standing to sue FDA. See Pls.’

Mot. at 7. 12 Any alleged “injuries” are not caused by FDA’s actions, but by DoD’s

12
  Nor are Plaintiffs’ other citations helpful. In Stauber v. Shalala, 895 F. Supp.
1178, 1187-88 (W.D. Wis. 1995), the plaintiffs wanted milk without certain
hormones and alleged that FDA’s approval made acquisition of other milk
impossible. Here, Plaintiffs do not want a COVID-19 vaccine; any requirement that
they get one is traceable solely to DoD. And the denial of a citizen petition filed by
someone else does not create an Article III injury. In Tummino v. Torti, 603 F. Supp.


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independent decision to require vaccination.        Here, prior to the approval of

Comirnaty, DoD indicated its intention to move forward with a vaccine requirement

for the military by mid-September even if the vaccine had not received FDA

approval. See Ex. 1. Plaintiffs’ insistence that FDA caused their injury is not only

speculative; it is contrary to the available evidence.

               2. Plaintiffs’ APA Claims Against the FDA Are Meritless.
      Plaintiffs challenge FDA’s approval of the Pfizer vaccine on the ground that

it was unsupported by “substantial evidence,” that FDA failed to follow proper

procedures, that FDA had an “improper purpose”, that the license is improper in

light of the EUA, and because the interchangeability finding is invalid. Pls.’ 1st Br.

at 15–31. Even if Plaintiffs had standing to bring those claims, each one fails on the

merits. As set forth below, FDA’s actions were entirely in accord with its statutory

authority, well documented, and reasonable.

              (i)    Statutory and Regulatory Background.

      The Public Health Service Act (“PHSA”) prohibits introducing a biological

product—including a vaccine—into interstate commerce without a license. 42

U.S.C. §§ 262(a)(1), (i)(1). FDA “shall” approve a biologics license if (1) “the

biological product . . . is safe, pure, and potent,” (2) “the facility in which the


2d 519,541 (E.D.N.Y. 2009), plaintiffs were challenging FDA’s refusal to authorize
over-the-counter dispensing of a particular drug that they wanted. Plaintiffs here
have not alleged any such loss.

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biological product is manufactured, process, packed, or held meets standards

designed to assure that the biological product continues to be safe, pure, and potent,”

and (3) “the applicant . . . consents to the inspection of the facility.” 42 U.S.C. §

262(a)(2)(C). Once FDA has made these three findings under the statute, it will

license the manufacturer to introduce the vaccine into interstate commerce for its

intended uses. The FDA has promulgated regulations for biologics, see 21 C.F.R.

Pt. 600, and procedures for applications for a biologics license, see 21 C.F.R. Pt.

601. FDA has issued other guidance and public documents on biologics and on

vaccine development. See generally Marks Decl. ¶ 5.

      There is an exception to the license requirement for products distributed under

an EUA. See 21 U.S.C. § 360bbb-3(a)(1). The Secretary (acting through the FDA

Commissioner) may issue an EUA for an unlicensed vaccine if he declares a public

emergency arising from (for example) a virus, id. §§ 360bbb-3(a)(1), (a)(2)

(b)(1)(C), and finds that certain conditions are met, including “that there is no

adequate, approved, and available alternative to the product for diagnosing,

preventing, or treating” the virus, id. § 360bbb-3(c)(3). If later those conditions “are

no longer met,” the Secretary “may revise or revoke an authorization.” Id. § 360bbb-

3(g)(2) (emphasis added). The Secretary’s decisions under this authority “are

committed to agency discretion.” Id. § 360bbb-3(i).




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                (ii) The FDA’s Actions Are Reasonable and Supported by the
                Evidence.
       Contrary to Plaintiffs’ contention, FDA’s approval of the Pfizer vaccine was

plainly reasonable. FDA considered the relevant statutory and regulatory criteria in

determining that Pfizer’s vaccine is “safe, pure and potent” and reasonably explained

its decision.

       Under the APA, the Court “may not substitute its own policy judgment for

that of the agency,” but “simply ensures that the agency has acted within a zone of

reasonableness” and “has reasonably considered the relevant issues and reasonably

explained the decision.” Prometheus Radio Project, 141 S. Ct. at 1158. The Court’s

review here is “at its most deferential” because the challenged actions involve

“scientific determination[s]” that are “within [HHS’s] area of special expertise.”

Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 103 (1983); Nat’l

Mining Ass’n v. Sec’y, U.S. Dep’t of Labor, 812 F.3d 843, 866 (11th Cir. 2016)

(noting “an extreme degree of deference to the agency when it is evaluating scientific

data within its technical expertise”). Moreover, “courts owe significant deference to

the politically accountable entities with the ‘background, competence, and expertise

to assess public health.’” FDA v. Am. Coll. of Obstetricians & Gynecologists, 141

S. Ct. 578, 579 (2021) (Roberts, C.J., concurring in grant of application for stay);

Pharm. Mfg. Rsch. Servs., Inc. v. FDA, 957 F.3d 254, 262 (D.C. Cir. 2020). In

addition, the “focal point for judicial review” under the APA “should be the


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administrative record already in existence, not some new record made initially in the

reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973) (per curiam); Fla. Power

& Light Co. v. Lorion, 470 U.S. 729, 744 (1985); Pres. Endangered Areas of Cobb’s

Hist., Inc. v. U.S. Army Corps of Eng’rs, 87 F.3d 1242, 1246 (11th Cir. 1996). The

Court is therefore “limited to evaluating the agency’s contemporaneous explanation

in light of the existing administrative record.” Dep’t of Commerce, 139 S. Ct. at

2573.

        The Court should also decline to consider any information not presented to

FDA for another reason. FDA regulations provide that “[a]n interested person who

wishes to rely upon information or views not included in the administrative record

shall submit them to the Commissioner with a new [Citizen Petition] to modify the

action.” 21 C.F.R. § 10.45(f). Ordinarily, “a reviewing court will not consider

arguments that a party failed to raise in timely fashion before an administrative

agency.” Mahon v. USDA, 485 F.3d 1247, 1254–55 (11th Cir. 2007); see also Ass’n

of Am. Physicians & Surgeons, Inc. v. FDA, 539 F. Supp. 2d 4, 21 (D.D.C. 2008),

aff’d, 358 F. App’x 179 (D.C. Cir. 2009).

        Under these principles, FDA’s actions are lawful.         As reflected by the

Summary Basis for Regulatory Action (“SBRA”), in approving the Comirnaty BLA,

FDA reviewed the vaccine’s composition, its manufacturing processes and facilities,

data from nonclinical studies (i.e., animal testing), the results of two ongoing clinical


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studies, collectively involving tens of thousands of individuals, as well as several

other sources and reviews. See Ex. 13 ¶¶ 16–21 & Ex. D. FDA considered six

months of safety and efficacy data from these two clinical trials as well as safety

information from the millions of vaccine doses administered under the EUA. Id.

      Plaintiffs argue that the Court should not defer to FDA’s approval decision

because Plaintiffs believe that the decision was made too quickly and was

“politicized.” See Pls.’ 1st Br. 15–16, 25–26.13 Plaintiffs do not cite a case for the

proposition that acting expeditiously in the face of urgent public need is evidence of

“bad faith” or unworthy of deference under APA standards, and the Marks

Declaration describes how the Comirnaty application met the statutory standards.

Ex. 13 ¶¶ 16–24.       Nor have Plaintiffs pointed to any evidence that FDA

decisionmaking was “politicized.” “Disagreement with an agency’s analysis is not

enough to warrant the consideration of extra-record evidence, which, after all, is ‘the

exception, not the rule.’” Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs,

255 F. Supp. 3d 101, 125 (D.D.C. 2017). In short, Plaintiffs’ disagreement with the

agency experts is not a reason to ignore ordinary APA standards.


13
   Plaintiffs cite an accurate press release that the original EUA was based on a
“randomized, controlled, blinded ongoing clinical trial of thousands of individuals.”
Pls.’ 1st Br. at 18. Plaintiffs claim this press release was intended to “mislead the
public” because of their mistaken conclusion that the clinical trials were
insufficiently controlled and were unblinded too soon. As explained in the Marks
Declaration, Plaintiffs are wrong. Ex. 13 ¶¶ 16–24. But Plaintiffs’ disagreement –
even if it had a basis – would not be a basis for a finding of bad faith.

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      Plaintiffs also challenge FDA’s action by citing and quoting the wrong statute.

The approval of a BLA under the PHSA, 42 U.S.C. § 262(a)(2)(C), is not governed

by the standards for a New Drug Application under the FDCA, see Pls.’ 1st Br. 16-

17 (citing 21 USC § 355(d), (e), (h)). A product approved pursuant to a BLA need

not be approved pursuant to a New Drug Application. 42 U.S.C. 262(j); 21 C.F.R.

§ 310.4. FDA expects similar levels and types of evidence for both types of

applications, but the applicable standards for a biologics license are provided by the

PHSA.

      Plaintiffs’ additional arguments about the clinical data do not undermine

FDA’s conclusions:

      Unblinding. Consistent with medical ethical standards and the clinical study

protocol, participants in clinical trial C4591001 who had been assigned to the

placebo group could be “unblinded” and offered the vaccine, either when eligible

for vaccination under local recommendations or after conclusion of their six-month

post–Dose 2 study visit. Ex. 13 ¶¶ 16–17.14 FDA reasonably determined that the



14
   Blinding means that one or more parties of the clinical trial are kept unaware of
the treatment assignment. Blinding “may be done to prevent skewing of the data by
the placebo effect, by risk-seeking behavior, by unconscious bias or by other factors”
but blinding “may impose a significant burden on the volunteer trial participants,
and medical ethicists generally agree that researchers are sometimes ethically bound
to unblind a study and permit placebo recipients to receive an effective treatment at
some point” and the “availability of effective treatment also encourages participation


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data collected during the clinical trial allowed FDA to evaluate the safety and

effectiveness of the vaccine, considering the data collected during the blinded stage

and the other information submitted supporting safety and effectiveness. Id. That

decision was reasonable and explicitly considered all relevant factors.

      Plaintiffs rely on the Ruby Declaration for the proposition that “[u]nblinding

after the initial two-month period converted a well-controlled, randomized clinical

trial into a modified open-label, observational, variable dose trial, and invalidated

the results.” See Pls.’ 1st Br. 17. Any substantive consideration of the Ruby

Declaration is improper because it was not before the agency decisionmaker, nor the

subject of a Citizen Petition. But Ruby’s assertion is also wrong because FDA

reasonably concluded it had sufficient reliable data to support approval,

notwithstanding the “unblinding.” Ex. 13 ¶ 17. Even if this Court were to consider

the Ruby Declaration, deference is due to the agency experts, “particularly on issues

about which experts disagree.” See Nat’l Coal. For Marine Conservation v. Evans,

231 F. Supp. 2d 119, 127 (D.D.C. 2002).

      But even if consideration of an extra-record declaration were appropriate,

Ruby’s unsupported allegations would not survive a motion to exclude. See Daubert

v. Merrell Dow Pharma., Inc., 509 U.S. 579 (1993). First, she lacks “scientific,


in clinical trials.” Ex. 13 ¶ 16 n. 5. The decision regarding when to unblind a clinical
trial involves a delicate balance of competing priorities. Id.


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technical, or other specialized knowledge” that would “help the trier of fact to

understand the evidence or to determine a fact in issue” under Federal Rule of

Evidence 702. Ruby is not a medical doctor and her Ph.D. is in psychology. She

lacks any relevant expertise with respect to vaccines, vaccine study design, virology,

or any issue before the Court. Ruby’s public statements on COVID-19 vaccines as

a pundit reveal a lack of basic medical research knowledge and have been widely

debunked as false. 15 And Ruby’s “opinions” are not based on sufficient data and do

not use “reliable principles and methods.” Indeed, the Declaration is rife with error

and reflects a lack of basic understanding of the field. See Ex. 13 ¶ 25.

      Special Populations. Plaintiffs also argue that FDA permitted Pfizer to

“exclude important ‘special populations’ from clinical trials, including:

(1) individuals with previous COVID-19 infections; (2) pregnant or lactating

women; and (3) individuals with other medical conditions identified in the June 2020

Industry Guidance.” Pls.’ 1st Br. 18–19. Plaintiffs do not have standing to raise



15
   See, e.g., No proof for speculation that COVID-19 vaccine deaths will rival
COVID-19            deaths,      Politifact,       (June        11,       2021),
https://www.politifact.com/factchecks/2021/jun/11/instagram-posts/no-proof-
speculation-covid-19-vaccine-deaths-will-/; Video makes false claims on Covid-19
vaccines and ‘magnetofection,’ AFP Factcheck (July 7, 2021),
https://factcheck.afp.com/http%253A%252F%252Fdoc.afp.com%252F9E94UF-1;
Fact Check: Video does not prove COVID-19 vaccines cause blood anomalies,
Reuters (Aug. 26, 2021), https://www.reuters.com/article/factcheck-video-
anomalies/fact-check-video-does-not-prove-covid-19-vaccines-cause-blood-
anomalies-idUSL1N2PX1T6.

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categories (2) and (3) as none of them purport to fall in those categories and cannot

be injured by FDA’s failure to consider a specialized risk to someone else. But the

argument fails regardless.    FDA reasonably considered and rejected a similar

argument in the context of a Citizen Petition. See Ex. 13 ¶¶ 22–24. Some of the

populations identified by those petitioners were included in the clinical trials

supporting approval and additional information will be obtained from post-

marketing studies. See id. ¶¶ 16, 22. In response to the petition, FDA concluded

that the petitioners had not provided scientific justification for requiring

effectiveness data from clinical trials specific to each population group and

specifically designed to evaluate disease endpoints of varying severity, and that their

argument was not consistent with “scientifically valid methods of assessing safety

and effectiveness,” such as immuno-bridging or extrapolation across population

groups. See id. ¶ 22 & Ex. G, at 7–8.

      With respect to individuals with previous cases of Covid-19, approximately

3% of the clinical trial participants had evidence of prior infection. See id. ¶ 22.

FDA explained that there was scientific uncertainty about the duration of immunity

after infection and that petitioners had not provided sufficient scientific support for

the claim that such individuals might be at higher risk of adverse effects from the

vaccine. See id. ¶¶ 22–23 & Ex. G, at 8–9 (also specifically considering evidence

submitted by petitioners). FDA reached similar conclusions with respect to another


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citizen petition. See FDA, Response to Citizen Petition, at 13–15 (Docket No. FDA-

2021-P-0529) (Aug. 23, 2021). For pregnant women, there are studies ongoing. See

id. ¶ 22. Some participants in both the treatment and placebo arms of the trial

became pregnant during the trial, and pregnancy outcomes were similar between the

vaccine and the placebo groups. See id. FDA reasonably considered all evidence

before the decisionmaker, and Plaintiffs’ criticisms of FDA’s substantive scientific

judgment are not likely to succeed under the APA.

      (iii) FDA Followed Proper Procedures.

      Plaintiffs also contend that FDA did not follow proper procedures because

(1) Phase 3 clinical trials were not complete, and (2) FDA did not consult the

Advisory Committee.      Pls.’ 1st Br. 22-23.     Neither argument is a basis for

invalidating the FDA Approval.

      Vaccines typically undergo three phases of clinical trial prior to approval, and

they may also be subject to post market study requirements after approval. See Ex.

13 ¶ 15. Phase 1 generally involves 20 to 100 healthy volunteers and focuses on

safety; Phases 2 and 3 typically enroll more subjects and are designed to gather more

safety information on common short-term side effects and risks, examine the

relationship between the dose administered and the immune response, and generate

critical efficacy data. Id. In the case of the COVID-19 vaccines, although those

phases overlapped to speed the development process, no phases were skipped. Id.


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Comirnaty was also designated as “Fast Track,” a program designed to expedite

development and review of drugs for serious conditions. Id.

      Plaintiffs argue that the approval was arbitrary because Phase 3 was not

“complete” before approval. The applicant’s continued collection of information is

not a logical or scientific basis for denial of the license. Here, FDA reasonably

determined the information collected to support the BLA was sufficient to support

the vaccine’s safety and effectiveness. See Ex. 13 ¶¶ 16–17 & Ex. E, at 15.

Although clinical trials are ongoing and safety will be evaluated for at the duration

of the study, FDA determined that there was adequate data to support the BLA.

Most adverse events linked to vaccination occur within two months of vaccination

and Comirnaty BLA included safety information for approximately 12,000

recipients who were followed for at least six months. This is in keeping with the

general approach for gathering safety data to evaluate other vaccines. Id.

      Plaintiffs also argue that the approval was arbitrary because FDA did not

consult its Advisory Committee about the BLA. But FDA is not required to do so

before acting on an application. See 21 C.F.R. § 14.171(a). Rather, the “relevant

factors” to consider in approving a vaccine BLA are in the PHSA, and Plaintiffs

have not established a likelihood of success on any challenge to the findings

regarding those factors.    Moreover, as set forth in the SBRA, the Advisory

Committee had previously met and discussed the Pfizer EUA request and licensure


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issues for COVID-19 vaccines in general, including for example, unblinding issues

and risk factors. SBRA, at 26–27. FDA considered whether to refer the application

to the Advisory Committee for additional consideration and decided not to do so

because “the information submitted to this BLA did not raise concerns or

controversial issues that would have benefited from an advisory committee

discussion.”   Id.   FDA is not required to refer applications to the Advisory

Committee and had a rational explanation for not doing so here, where the Advisory

Committee had previously commented on key issues. See Ex. 13 ¶ 18.

                (iv) FDA Did Not Have an “Improper Purpose.”
      Plaintiffs argue that the FDA had an “improper purpose” and considered

impermissible factors – namely, “a larger federal program to mandat[e] vaccinations

for nearly all Americans, rather than any demonstration that Comirnaty satisfied the

statutory criteria for approval.” Pls.’ 1st Br. 23–26. Plaintiffs’ conclusion is both

wrong and irrelevant.

      First, Plaintiffs include no evidence for the proposition that FDA is somehow

trying to mandate vaccinations for everyone. FDA does not enact and has not

enacted vaccine mandates for the public; it acts to evaluate applications and to

approve safe and effective vaccines, a process that is particularly important during a

deadly pandemic. Plaintiffs argue that the “timing” of subsequent federal vaccine

mandates is “strong[] evidence” that that approval was intended to assist those



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mandates. Pls.’ 1st Br. 24. That conclusion does not logically or plausibly follow.

DoD had already announced its intention to move forward with requiring COVID

vaccinations by mid-September even if FDA had not yet fully approved a vaccine.

Other agencies or private employers may have considered FDA’s approval to

support their own decisions to require vaccinations for their workforce, but those

decisions are not attributable to FDA. Plaintiffs’ additional complaints about FDA’s

speed are also unavailing. Acting quickly and efficiently during a deadly pandemic

that has killed over 700,000 Americans is not evidence of bad faith.

      And, as with military officials, FDA officials are presumed to have properly

discharged their official duties, unless there is “clear evidence to the contrary.” Latif

v. Obama, 677 F.3d 1175, 1178 (D.C. Cir. 2012). Plaintiffs have presented no such

evidence here. On the contrary, those portions of the record available to the Court

at this preliminary stage demonstrate the agency’s careful consideration of all

relevant data.

      Finally, Plaintiffs’ arguments – even if they had support – would not state a

claim. The Supreme Court has explained that “a court may not reject an agency’s

stated reasons for acting simply because the agency might also have had other

unstated reasons” and that “a court may not set aside an agency’s policymaking

decision solely because it might have been influenced by political considerations or

prompted by an Administration’s priorities.” Dep’t of Com., 139 S. Ct. at 2573.


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Even if Plaintiffs had some evidence for the proposition that FDA was motivated in

part by a desire to support vaccine mandates, that would not state a claim under the

APA.

                (v) The FDA License is Not Mutually Exclusive with the EUA.
       Plaintiffs also insist that FDA acted contrary to law by both approving the

Pfizer BLA and maintaining the EUA for the Pfizer vaccine, claiming that the

actions are “mutually exclusive” as to the same use. See Pls.’ 1st Br. 27–29.

Although Plaintiffs argue as a statutory matter that the EUA cannot be maintained

after the BLA is approved because the approved vaccine is now “approved, adequate

and available,” they illogically seek to invalidate the license rather than the EUA,

presumably because this Court lacks jurisdiction over a challenge to the EUA. The

EUA statute provides that HHS’s “[a]ctions under the authority of this section . . .

are committed to agency discretion.” 21 U.S.C. § 360bbb-3(i); Ass’n of Am.

Physicians & Surgeons v. FDA, 2020 WL 5745974, at *3 (6th Cir. Sept. 24, 2020)

(holding that EUAs are unreviewable); see also 5 U.S.C. § 701(a)(2) (agency action

is unreviewable under the APA when it “is committed to agency discretion by law”).

The Emergency Declaration and the Pfizer EUA state that each was issued under the

authority of the EUA statute. See Ex. 13 ¶¶ 7–9 & Exs. B, C. They are therefore

unreviewable under the APA. It does not follow, however, that Plaintiffs can instead

seek invalidation of the license, which even under their reading of the statute, is



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perfectly valid. Under Plaintiffs’ reading, the continuation of the EUA would be

invalid, not the license.

      Plaintiffs are also wrong that the agency has exceeded its statutory authority

by not revoking the EUA. First, even though FDA approved Comirnaty, the agency

found that there remains “no adequate, approved, and available alternative” to the

EUA vaccines (including Pfizer’s) because (1) there is not sufficient approved

vaccine available for distribution to [the 16-year-old and older] population in its

entirety; and (2) there are not products that are approved to prevent COVID-19 in

individuals age 12 through 15, for a third dose in certain populations, and for a

“booster” dose in certain circumstances. Ex. 13 ¶¶ 7–9 & Exs. B, C. Plaintiffs object

to the finding that the Comirnaty vaccine is not sufficiently available for the adult

population because, according to Plaintiffs, “[a]vailability is a binary requirement

under the statute; an alternative either is or is not available” and “[t]here is no room

in the statute for the FDA to add a third option - not available in sufficient quantity.”

Pls.’ 1st Br. 28. This puzzling interpretation reduces “available” to meaning “in

existence.” The existence of a single dose for sale somewhere in the world does not

mean that all use of the vaccine authorized under the EUA must immediately cease

everywhere else. FDA reasonably found that vaccine doses labelled “Cominarty”

are not available to fill the current need. Plaintiffs appear to agree. See Compl. ¶ 77.




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Accordingly, Plaintiff cannot show a likelihood of success on any argument that

Cominarty is “available.”

      Second, even if the Comirnaty vaccine were an “adequate, approved, and

available alternative” to the EUA vaccines, nothing in 21 U.S.C. § 360bbb-3

requires FDA to revoke existing EUAs. Indeed, the provision governing “Review

and Revocation of Authorization” says that, if the criteria justifying the original

issuance of an EUA “are no longer met,” then FDA “may revise or revoke” that

EUA. 21 U.S.C. § 360bbb-3(g)(2) (emphasis added). The verb “may” is ordinarily

permissive. Anderson v. Yungkau, 329 U.S. 482, 485 (1947); MSPA Claims 1, LLC

v. Kingsway Amigo Ins. Co., 950 F.3d 764, 773–74 (11th Cir. 2020). The statute

thus contemplates that an EUA could continue after an approval of an equivalent

product. A permissive reading of “may” also accords with the statutory purpose of

giving FDA flexibility to “permit rapid distribution of promising new drugs and

antidotes in the most urgent circumstances,” see 2004 U.S.C.C.A.N. S17, S18

(Statement of President Bush), because it removes the need for manufacturers to

limit supply or delay seeking approval to exhaust supplies of authorized product.

Thus, even if the EUA were reviewable, and even if Comirnaty were “available,”

Plaintiffs’ challenge would fail because there is no requirement to revoke the

existing EUA upon approval of the equivalent vaccine. It is therefore not “mutually

exclusive” with the License, even as to the same use.


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      Plaintiffs further argue that the extension of the EUA is somehow inconsistent

with FDA’s determination that the Pfizer EUA vaccine is medically interchangeable

with Comirnaty, because FDA regulates the Pfizer vaccines under two regimes.

First, FDA’s determination that the vaccines are medically interchangeable – a

factual finding that Plaintiffs do not dispute – is not inconsistent with the vaccines

being legally distinct, for example, with respect to labeling requirements. Ex. 13

¶¶ 11–12. Second, because revocation of an EUA is explicitly discretionary (as well

as nonreviewable), Plaintiffs’ notion that FDA cannot simultaneously regulate the

vaccine under two distinct legal regimes is wrong as well. Congress intentionally

left open the possibility that the same vaccine could be subject to both a license and

an EUA.16

                (vi) The Plaintiffs Cannot Establish a Likelihood of Success with
                Respect to the Interchangeability Determination.
      Plaintiffs challenge the Comirnaty license based on an undisputed finding in

the EUA – that Comirnaty and the Pfizer EUA vaccine have the same formulation



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  This situation is thus readily distinguishable from the statutory provisions at issue
in a case cited by Plaintiffs, where the court held that “the FDCA’s text
unambiguously foreclosed” an interpretation under which FDA would have
discretion to regulate the same product as either a drug or a device. See Genus Med.
Techs. LLC v. FDA, 994 F.3d 631, 637 (D.C. Cir. 2021). Among other reasons, the
court found that both regimes created mandatory, incongruent regulatory effects, and
that the legislative history supported the specific conclusion that the same product
should not be subject to both regimes. Id. at 639-41. No such considerations apply
here because the EUA statute is discretionary and designed to maximize flexibility.

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and can be used interchangeably without presenting any safety or effectiveness

concerns. Plaintiffs lack standing to challenge this factual finding for several

reasons. First, Plaintiffs’ stated objection – that the interchangeability determination

is invalid – has no relationship to their requested relief against FDA in the

Complaint, invalidation of the license, and thus any injury is not traceable to the

Approval. Moreover, Plaintiffs have identified no harm from the finding. DoD has

a supply of Comirnaty, and Plaintiffs have set forth no reason to think that they

would be required to be vaccinated with something else. See Ex. 14 ¶ 18; Ex. 13

¶ 13; cf. Coal. for Mercury-Free Drugs v. Sebelius, 671 F.3d 1275 (D.C. Cir. 2012)

(Kavanaugh, J.) (explaining that availability of vaccines other than the ones to which

plaintiffs objected eliminated plaintiffs’ standing). DoD’s decision to rely on FDA’s

(undisputed) finding that the vaccines are medically interchangeable does not create

standing to challenge any action by FDA.

      FDA’s determination that the EUA-authorized product and the BLA-

approved product can be used interchangeably without safety or effectiveness

concerns was both lawful and reasonable. As explained in the EUA letter, the

“licensed vaccine has the same formulation as the EUA-authorized vaccine and the

products can be used interchangeably to provide the vaccination series without

presenting any safety or effectiveness concerns.” FDA acknowledged that the

“products are legally distinct with certain differences that do not impact safety or


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effectiveness.” See Ex. 13 at Ex. C, at 2 n.8. The licensed and EUA vaccines have

an identical formulation and are made by the same manufacturer under current good

manufacturing practice requirements. “FDA included this clarification in the

authorization letter to avoid the unnecessary operational complications that may

have resulted if pharmacies or other healthcare practitioners had believed that

individuals who had received Pfizer-BioNTech for the first dose were not authorized

to receive Comirnaty for the second dose, or vice versa.” Ex. 13 ¶ 9. FDA’s

scientific determination was reasonable.

      Plaintiffs confuse this factual finding with the statutory interchangeability

determination under a separate subsection of the PHSA. See Pls.’ 1st Br. 29–31

(citing 42 U.S.C. § 262(k)(4)). Under Section 262(k)(4), FDA may make a statutory

interchangeability determination when reviewing a BLA for a biological product

manufactured by one company and comparing it with a product manufactured by

another company. But FDA did not make a statutory interchangeability finding

under (k)(4). Ex. 13 ¶ 10. FDA made a scientific determination, based on FDA’s

technical expertise and consistent with its statutory authority.

      For all the foregoing reasons, Plaintiffs have not established a likelihood of

success on their challenges to the FDA License.




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      D.     Plaintiffs’ Constitutional Claims Are Unlikely To Succeed.
               1. Rational Basis Review Applies To Plaintiffs’ Constitutional
                  Claims.
      Plaintiffs’ constitutional claims are unlikely to succeed on the merits. By

arguing that strict scrutiny applies to their constitutional claims, Plaintiffs rely on

the wrong standard of review and ignore longstanding precedent (consistently

reaffirmed) that vaccine requirements are subject to a rational basis standard. Pls.’

2nd Br. 2.

      “Rational basis review is the test [that] normally applies to Fourteenth

Amendment challenges, so long as they do not involve suspect classifications based

on race or some other ground, or a claim of fundamental right.” Roman Cath.

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 70 (2020) (Gorsuch, J., concurring). 17

Unless the challenged regulation treats persons differently based on a suspect class

or deals with a fundamental right, the government “must only show a rational basis”

to overcome an Equal Protection or Due Process challenge. Panama City Med.

Diagnostic Ltd. v. Williams, 13 F.3d 1541, 1545 (11th Cir. 1994).

      Plaintiffs fail to identify any group that the DoD mandate treats differently,

much less any suspect classification that would trigger strict scrutiny. Plaintiffs


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  The Equal Protection Clause of the Fourteenth Amendment applies to the Federal
Government under the Fifth Amendment’s Due Process Clause. Bolling v. Sharpe,
347 U.S. 497, 500 (1954).


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seem to argue that the mandate discriminates based on “alienage.” That is false—

all service members are required to be vaccinated unless they have an approved

exemption. Ex 2.

      Rational basis review also applies because the mandate does not burden any

“fundamental right ingrained in the American legal tradition”—“vaccination

requirements, like other public-health measures, have been common in this nation”

throughout history. Klaassen v. Tr. of Ind. Univ., 7 F.4th 592, 593 (7th Cir. 2021),

emergency application for relief denied, No. 21A15 (Barrett, J., in chambers) (Aug.

12, 2021); accord, e.g., Doe v. Zucker, 520 F. Supp. 3d 217, 249–53 (N.D.N.Y.

2021); see Jacobson v. Massachusetts, 197 U.S. 11 (1905) (“a state may require all

members of the public to be vaccinated against smallpox,” under penalty of criminal

sanctions); Prince v. Massachusetts, 321 U.S. 158, 166–67 (1944); Zucht v. King,

260 U.S. 174, 177 (1922).

      Courts have thus “consistent[ly] use[d] . . . rational basis review to assess

mandatory vaccination measures.” Klaassen v. Trs. of Ind. Univ., 2021 WL

3073926, at *24 (N.D. Ind. July 18, 2021); accord, e.g., Workman v. Mingo Cnty.

Bd. of Educ., 419 F. App’x 348, 355–56 (4th Cir. 2011); Norris v. Stanley, --- F.

Supp. 3d. ---, 2021 WL 4738827, at *2 (W.D. Mich. Oct. 8, 2021); Harris v. Univ.

of Mass., Lowell, No. 21-11244, 2021 WL 3848012, at *6 (D. Mass. Aug. 27, 2021);

Zucker, 520 F. Supp. 3d at 249–53; see also Cuomo, 141 S. Ct. at 70 (Gorsuch, J.,


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concurring) (explaining that Jacobson “essentially applied rational basis review” to

a state vaccination requirement).

      Courts considering recent challenges to COVID-19 vaccination requirements

have continued to apply rational basis review to these challenges.           See, e.g.,

Klaassen, 2021 WL 3073926, at *24–*25; Norris, 2021 WL 4738827, at *2 (not

applying strict scrutiny because the “policy does not violate any of Plaintiff’s

fundamental rights”); Harris, 2021 WL 3848012 at *3, *6.

      Plaintiffs’ reliance on Cruzan ex rel. Cruzan v. Dir., Mo. Dep’t of Health, 497

U.S. 261, 279 (1990) to argue otherwise misses the mark. See Pls.’ 2nd Br. 14.

Cruzan held only that “the Constitution granted competent persons a

‘constitutionally protected right to refuse lifesaving hydration and nutrition’” should

they later become terminally ill and non-responsive. Cruzan, 497 U.S. at 279. The

DoD mandate at issue here is nothing like forcing someone to undergo intrusive,

years-long treatment against their will even if they are in a vegetative state. Instead,

vaccinations are a fairly routine occurrence, and of course, Plaintiffs volunteered to

join the military where vaccinations have long been a requirement. See, e.g.,

Klaassen, 2021 WL 3073926, at *25 (university’s mandate was “a far cry” from

forced medical care); Bridges v. Houston Methodist Hosp., 2021 WL 2399994, at

*2 (S.D. Tex. June 12, 2021) (similar).




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      Plaintiffs next argue that the mandate should be considered “medical

experimentation” in violation of a fundamental right to bodily integrity and thus

subject to strict scrutiny. Pls.’ 2nd Br. 17. A case relied on by Plaintiffs explains

why none of these “medical experimentation” cases applies to vaccine mandates in

the military. See Ammend v. BioPort, Inc., 322 F. Supp. 2d 848, 871 (W.D. Mich.

2004) (distinguishing Heinrich, Stadt, and Cincinnati Radiation—also cited in

Plaintiffs’ brief—from an anthrax vaccine mandate). The Ammend Court concluded

that “[t]o hold that violations of the right to bodily integrity occurred” when the

military mandated anthrax vaccines “would require this Court to chart new

constitutional ground”—something it was not willing to do given the Supreme

Court’s admonishment to “lower courts to exercise restraint when asked to expand

the rights protected by constitutional substantive due process.” Id. at 872 (citing

Collins v. City of Harker Heights, 503 U.S. 115, 125 (1992)).

      Plaintiffs next claim that strict scrutiny is required under the Supreme Court’s

reasoning in Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.Ct. 63, 67

(2020). But Cuomo applied strict scrutiny to a First Amendment Free Exercise

challenge to a regulation of gatherings that were “not ‘neutral’ and of ‘general

applicability.’” Id. Nothing in Cuomo suggests that the Court silently reversed more

than a century of precedent holding that vaccine mandates are subject to rational

basis review—instead Justice Gorsuch’s concurrence emphasizes that vaccine


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mandates should continue to receive rational basis review. See Cuomo, 141 S. Ct.

at 70 (Gorsuch, J., concurring).18

               2. Plaintiffs Cannot Meet Their Burden Under Rational Basis
                  Review.
      Under rational basis review, the Court must uphold the mandate unless

plaintiffs overcome “every conceivable basis which might support it.” Jones v.

Governor of Fla., 975 F.3d 1016, 1034 (11th Cir. 2020). When “mounting a facial

challenge” under rational basis review, a plaintiff’s “burden is heavy: he must

demonstrate that no possible application” of the regulation “can be squared with the

Fifth Amendment.” Doe v. Sullivan, 938 F.2d 1370, 1383 (D.C. Cir. 1991).

      The mandate easily satisfies this standard because it is rationally related to the

government’s interest in maintaining “a healthy and ready force” of warfighters

ready to defend our nation and in preventing the spread of infectious disease. Ex. 2;

see, e.g., Klaassen, 2021 WL 3073926, at *26.

      Plaintiffs cite no case in which a vaccination requirement has been found to

lack a rational basis, and Defendants are aware of none. Instead, Plaintiffs claim


18
  Plaintiffs’ other arguments lack support. Pls.’ 2nd Br. 9–13. Other than noting
that the mandate is not imposed by a State exercising inherent police power,
Plaintiffs fail to develop the argument. Plaintiffs also propose, with no legal support,
that judicial scrutiny should depend on disease-specific facts. Plaintiffs claim the
definition of “vaccine” on CDC’s website changed, but do not explain how that
would inform judicial scrutiny. Plaintiffs also note that the defendant in Jacobson
faced different consequences than a service member might under the mandate, but
again, they fail to explain why that would matter.

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that because the COVID-19 vaccine is newly developed there can be no rational

reason for a mandate. Pls.’ 2nd Br. 17. This argument ignores that the FDA has

approved this vaccine, minimizes the hundreds of thousands of American lives that

have been lost to COVID-19, and omits the costs and disruptions COVID-19 caused

to military operations. It also fails to grapple with the military’s mandate for an

annual, newly developed influenza vaccine. Ex. 5 ¶ 4–7. In any event, Plaintiffs’

claim otherwise fails. When the D.C. Circuit applied the rational basis test to a

requirement for deploying soldiers to receive non-FDA-approved medications, the

court concluded that DoD’s two legitimate government interests in the uniform

administration of drugs and military success “counterbalance an individual’s interest

in being free from experimental treatment without giving informed consent.”

Sullivan, 938 F.2d at 1383 (R.B. Ginsburg, J.).19

              3. Plaintiffs’ Other Constitutional Claims Lack Merit.
      Plaintiffs’ unconstitutional conditions claim fails as well. See Pls.’ 2nd Br.

19. “A predicate for any unconstitutional conditions claim is that the government

could not have constitutionally ordered the person asserting the claim to do what it

attempted to pressure that person into doing.” Koontz v. St. Johns River Water


19
   Even if strict scrutiny applied, the requirements would still be constitutional
because mandatory vaccines are the least restrictive means to further a compelling
government interest in preventing infectious disease. See F.F. on behalf of Y.F. v.
State, 65 Misc. 3d 616, 633, (N.Y. Sup. Ct. 2019); Brown v. Smith, 24 Cal. App. 5th
1135, 1145 (2018); Love v. State Dep’t of Educ., 29 Cal. App. 5th 980, 996 (2018).

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Mgmt. Dist., 570 U.S. 595, 612 (2013). The order is constitutional for the reasons

described herein, so the doctrine does not apply. See Norris, 2021 WL 4738827, at

*3 (rejecting an unconstitutional conditions challenge). Regardless, this doctrine

would not apply because the military is directly ordering Plaintiffs—not indirectly

regulating by withholding benefits.

       Plaintiffs’ tenth cause of action claims the federal defendants violated 42

U.S.C. § 1983, Compl. ¶¶ 165–167, but “42 U.S.C. § 1983 does not provide a viable

cause of action against [Federal] Agents since they are federal officers and therefore

were not ‘acting under color of state law,’” Fuqua v. Turner, 996 F.3d 1140, 1147

n.3 (11th Cir. 2021).

II.    Plaintiffs Do Not Face Irreparable Harm.

       “[E]ven if Plaintiffs establish a likelihood of success on the merits, the

absence of a substantial likelihood of irreparable injury would, standing alone, make

preliminary injunctive relief improper.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th

Cir. 2000) (citations omitted).

       Irreparable harm “must be neither remote nor speculative, but actual and

imminent.” Ne. Fla. Chapter of Ass’n of Gen. Contractors v. City of Jacksonville,

Fla., 896 F.2d 1283, 1285 (11th Cir. 1990). “Mere injuries, however substantial, in

terms of money, time and energy necessarily expended in the absence of a stay, are

not enough.” Id. (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)). “The


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possibility that adequate compensatory or other corrective relief will be available at

a later date, in the ordinary course of litigation, weighs heavily against a claim of

irreparable harm.” Sampson, 415 U.S. at 90. “In cases involving claims related to

military personnel decisions, moreover, courts have held that the showing of

irreparable harm must be especially strong before an injunction is warranted, given

the national security interests weighing against judicial intervention in military

affairs.” Shaw, 2021 WL 1840397, at *9 (citations omitted). Plaintiffs have failed

to make such a showing.

      A. Plaintiffs Who Have Not Taken The Vaccine Will Not Suffer
         Irreparable Harm.
      Plaintiffs first argue that they will suffer irreparable harm from the

“involuntary administration of the vaccine,” Pls.’ 2nd Br. 24–25, and being forced

“to submit to an inoculation without informed consent,” Pls.’ 1st Br. 31. But no one

will physically force them or any other service member to get a COVID-19 vaccine.

See, e.g., Ex. 6 ¶ 3.D.8.B.4 (“There will be no involuntary (forcible)

immunizations.”); Ex. 16 ¶¶ 6, 8, 15; Ex. 17 ¶ 3 n.2; Ex. 18 ¶ 4 n.2. At least three

other courts have found that facing a choice among taking a vaccine, obtaining an

exemption, and facing adverse employment consequences is not irreparable harm.

See Beckerich v. St. Elizabeth Med. Ctr., 2021 WL 4398027, at *7 (E.D. Ky. Sept.

24, 2021); Am.’s Frontline Drs. v. Wilcox, 2021 WL 4546923, at *7 (C.D. Cal. July




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30, 2021); Harsman v. Cincinnati Children’s Hosp. Med. Ctr., 2021 WL 4504245,

at *4 (S.D. Ohio Sept. 30, 2021).

      Plaintiffs rely on Doe v. Rumsfeld to argue that “[r]equiring a person to submit

to an inoculation without informed consent” constitutes irreparable harm. Pls.’ 1st

Br. 31; Pls.’ 2nd Br. 25. But Doe does not apply because that case involved the

provision of investigational new drugs under 10 U.S.C. § 1107 to service members.

See Doe, 297 F. Supp. 2d at 131. No COVID-19 vaccine given to service members

is an IND that would trigger the informed consent procedures set out in 10 U.S.C.

§ 1107. And, as set forth above, DoD’s mandate does not violate any rights of

informed consent.

      Plaintiffs next argue that the administrative and disciplinary actions that may

be taken against them if they do not comply with the DoD mandate would force them

to “sacrifice their current and future employment, benefits, reputation, [and]

freedom,” thus constituting irreparable harm. Pls.’ 1st Br. 31; Pls.’ 2nd Br. 25. If

Plaintiffs refuse to take the vaccine, and they do not have a valid exemption, they

will be subject to a “range of administrative and disciplinary actions,” which may

include a court martial proceeding.      Ex. 7 ¶ 5; see also Ex. 6 ¶ 3.D.8.B.1–

3.D.8.B.1.D, 3.D.8.B.2, Annex XX; Ex. 18 ¶ 14; Ex. 22 ¶¶ 10–12; UCMJ art. 92, 10

U.S.C. § 892. But courts have consistently found that these types of administrative

and disciplinary actions, including separation and a less than honorable discharge,


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are not irreparable injuries because the service member could later be reinstated and

provided back pay if he or she prevailed on their claim. See, e.g., McCurdy v.

Zuckert, 359 F.2d 491 (5th Cir. 1966) (finding that “a general discharge” is not

“irreparable”); Hartikka v. United States, 754 F.2d 1516, 1518 (9th Cir. 1985)

(holding that “loss of income, loss of retirement and relocation pay, and damage to

his reputation resulting from the stigma attaching to a less than honorable discharge”

is “insufficient . . . to justify injunctive relief”); Chilcott v. Orr, 747 F.2d 29, 34 (1st

Cir. 1984); Guitard v. Sec’y of Navy, 967 F.2d 737, 742 (2d Cir. 1992); Guerra v.

Scruggs, 942 F.2d 270, 274 (4th Cir. 1991); Shaw, 2021 WL 1840397, at *10;

Reinhard v. Johnson, 209 F. Supp. 3d 207, 220 (D.D.C. 2016); Bors v. Allen, 607 F.

Supp. 2d 204, 211 (D.D.C. 2009); Wilburn v. Dalton, 832 F. Supp. 943, 948 (E.D.

Pa. 1993).

       Even being subject to court martial does not constitute an irreparable injury.

For example, the Supreme Court in Schlesinger v. Councilman reversed an

injunction that prevented the military from proceeding with an impending court

martial; finding that the “inconvenience of having to defend against a single criminal

prosecution, cannot [] be considered irreparable....” 420 U.S. 738, 755 (1975)

(quotation omitted and cleaned up)); see also, e.g., Hall v. McHugh, 2010 WL

596499, at *2 n.4 (S.D. Ga. Feb. 17, 2010); Waters v. Schlesinger, 366 F. Supp. 460,




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462 (N.D. Tex. 1973); U.S. ex rel. New v. Perry, 1996 WL 420175, at *1 (D.D.C.

Jan. 16, 1996).

      Plaintiffs finally argue that the deprivation of their constitutional rights—

either by depriving them of their ability to “refuse unwanted, unnecessary, and

unproven experimental medical treatments” or by instituting administrative or

disciplinary proceedings that could result in loss of “current and future employment,

benefits, reputation, freedom and other enumerated constitutional rights”—

constitutes irreparable injury. Pls.’ 2nd Br. 24–25; Pls.’ 1st Br. 32. But, DoD is not

violating Plaintiffs’ constitutional rights. And, although Plaintiffs rely on Jessen v.

Village of Lyndon Station, 519 F. Supp. 1183, 1189 (W.D. Wis. 1981), to imply that

Plaintiffs will be deprived of property rights if any adverse employment action is

taken against them, see Pls.’ 2nd Br. 25; Pls.’ 1st Br. 32, it is well established that

service members do not have a property right to continued employment in the

military, see Guerra, 942 F.2d at 277–78; Spadone v. McHugh, 842 F. Supp. 2d 295,

304 (D.D.C. 2012).

      The deprivation of constitutional rights causes irreparable injuries only in

those limited circumstances where the deprivation has an “intangible nature” such

that the plaintiffs “could not be compensated . . . by money damages; in other words,

plaintiffs could not be made whole.” Ne. Fla., 896 F.2d at 1285. Even if Plaintiffs

had established a substantial likelihood of success on any of their constitutional


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claims, they nevertheless do not face irreparable harm because they can refuse the

vaccine, face any administrative or disciplinary consequences, and later be made

whole through, for example, the correction of their military records, back pay, and

reinstatement.   See Norris, 2021 WL 3891615, at *2–3 (rejecting a similar

argument).

      Plaintiffs also cannot establish irreparable harm for the same reasons they

cannot demonstrate ripeness and imminent harm. See Ne. Fla., 896 F.2d at 1285.

Eleven have pending religious exemption requests or intend to request a religious

exemption. See Ex. 29. While an exemption request is pending, service members

are not required to be vaccinated and no disciplinary action will be taken. See Ex. 6

¶ 3.D.8.B.1.F; Ex. 8 ¶ 3.e.(4); Ex. 9 ¶¶ 2.c.3, 2.c.4 (Example 3); Ex. 11 at Attachment

1; Ex. 16 ¶¶ 8, 15, 19; Ex. 17 ¶ 9, n.6, 11 n.9; Ex. 18 ¶ 9 n.5, ¶ 12 n.9; Ex. 21 ¶ 13.

No administrative or disciplinary action has been taken against any of the service

members with pending exemption requests. 20 See Ex. 23 ¶¶ 6–7; Ex. 24 ¶¶ 7–8; Ex.

25 ¶¶ 7–8; Ex. 26 ¶ 8; Ex. 27 ¶ 13; Ex. 28 ¶ 12. And a service member will not face

any adverse consequences from the vaccination mandate if an exemption is granted.

See Ex. 17 ¶ 12; Ex. 18 ¶ 13. Therefore, because the exemption process has not yet

been completed for these Plaintiffs, Plaintiffs Jane Doe #2 and John Does #1, 2, 3,



20
  John Doe #2 was issued a letter of reprimand for his actions prior to submission
of his religious exemption request. See Ex. 27 ¶¶ 7–14.

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6, 8, 9, 10, 11, 12, and 14 do not face imminent harm and it is entirely speculative

whether they will face any disciplinary or administrative consequences for refusal to

take the vaccine. See Williams v. Brown, 2021 WL 4894264 *10 (D. Or. Oct. 19,

2021) (finding no irreparable harm when exemption requests were pending).

      Even for the Plaintiffs who have not sought exemptions, the result of any

future disciplinary actions is speculative.21 See Shaw, 2021 WL 1840397, at *10

(speculative that sailor would suffer harm where administrative procedures

incomplete). For example, if a service member is subject to a discharge board, that

board may determine not to discharge the member. See id. Likewise, if an individual

is court-martialed, the members or the military judge may determine that the service

member is not guilty. Moreover, certain disciplinary proceedings can take months

and even up to a year to conclude. See, e.g., Ex. 17 ¶ 16; Ex. 22 ¶ 7, 9, 12. Such

actions cannot be considered imminent. See Shaw, 2021 WL 1840397, at *10.

      B.     John Doe #4 Cannot Establish Irreparable Harm.
      John Doe #4 attests that he took a COVID-19 vaccine. See Decl. of John Doe

#4, ¶ 7 (Sept. 27, 2021), ECF No. 1-19. Assuming that attestation is accurate, then

the military will consider him fully vaccinated and he will have no further



21
  John Doe #8 and #13 allege that they were given or are facing “Page 13 sanctions”
for non-compliance with the DoD directive. John Doe #8 Decl. ¶ 7; John Doe #13
Decl. ¶ 7. But a “Page 13 is not punitive or an adverse administrative action” and is
merely “a formal record of counseling.” Ex. 24 ¶ 4; Ex. 17 ¶ 13.

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obligations under the DoD mandate. See Ex. 2. He cannot establish any imminent

harm, and he is not entitled to injunctive relief. Alabama v. U.S. Army Corps of

Eng’rs, 424 F.3d 1117, 1134 (11th Cir. 2005).

III.    The Equities and the Public Interest Weigh Heavily Against
        Preliminary Injunctive Relief.

        Plaintiffs must also “establish . . . that the balance of equities tips in [their]

favor, and that [the] injunction is in the public interest.” Winter, 555 U.S. at 20.

These factors merge when a plaintiff seeks an injunction against the Federal

Government. See Nken v. Holder, 556 U.S. 418, 435 (2009). Even when

“irreparable injury may otherwise result to [a] plaintiff,” courts have discretion to

deny an injunction that would “adversely affect a public interest.” Weinberger v.

Romero-Barcelo, 456 U.S. 305, 312–13 (1982) (quotation omitted). Indeed, the

Supreme Court has cautioned that “courts of equity should pay particular regard for

the public consequences in employing the extraordinary remedy of injunction.”

Winter, 555 U.S. at 24 (quotation omitted). Regardless of whether Plaintiffs seek a

nationwide injunction or relief just as to the named Plaintiffs, see Pls.’ 1st Br. 33,

Pls.’ 2nd Br. 27; Proposed Orders ¶ 2; Tr. 11:14–12:4 (Oct. 8, 2021), either

injunction would be contrary to the public interest and the harms to the military and

FDA would far outweigh any speculative harms to the Plaintiffs.




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      A.     An Injunction Against DoD and the Military Services Would
             Adversely Affect Military Readiness.
      An injunction against the DoD directive and the Military Services’

implementation guidance would have an adverse impact on the public interest in

national defense. The Secretary of Defense “determined that mandatory vaccination

against [COVID-19] is necessary to protect the Force and defend the American

people.” Ex. 2 (further stating that “[t]o defend this Nation, we need a healthy and

ready Force”). The Secretary made this decision after consulting with “medical

experts and military leadership,” id., including the “Chairman of the Joint Chiefs of

Staff, the Secretaries of the Military Departments, [and] the Service Chiefs,” Ex. 1.

The Service Secretaries likewise found that COVID-19 impacts military readiness

and that mandatory vaccination is necessary to prevent the spread of COVID-19 in

the Force. See, e.g., Ex. 6 ¶ 3.B.3; Ex. 7 ¶ 2; Ex. 10. The Court must “give great

deference” to the “professional military judgment” of these military leaders

concerning the importance of slowing the spread of COVID-19 to ensure military

readiness. See Winter, 555 U.S. at 24–25.

      These professional military judgments are supported by the evidence showing

COVID-19’s impact on the Force. Hundreds of thousands of service members have

been infected, thousands have been hospitalized, and dozens have died. Ex. 14 ¶ 11.

And COVID-19 has “impacted exercises, deployments, redeployments, and other

global force management activities,” Ex. 15 (Decl. of Major Scott Stanley) ¶ 6


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(including rendering an aircraft carrier non-operational because of an outbreak, id.

¶ 8), caused the cancellation of “19 major training events, many of which involved

preparation and training with our foreign partners,” id. ¶ 9, and has “required

significant operational oversight” by the most senior military leaders, id. ¶ 4. Certain

countries have vaccine requirements, such that unvaccinated service members would

not be able to participate in training exercises with partner nations, which are “vital

to the preservation of national security and the protection of our foreign interests.”

Id. ¶¶ 10–11. Vaccinations have promoted readiness by reducing the risk of

infections, hospitalizations, and deaths of service members, reducing the number of

service members who are required to quarantine, and permitting the military to, for

example, return to higher levels of occupancy in DoD facilities and hold in-person

trainings. Id. ¶¶ 3, 14–19. Enjoining the DoD mandate would undermine military

readiness by preventing DoD from using the most effective means to stop the spread

of COVID-19.

      Enjoining the DoD mandate solely as to the named Plaintiffs is also not in the

public interest. If they are unvaccinated, they could get infected with COVID-19,

become seriously ill and face hospitalization and death, which affects the readiness

of their particular unit. Ex. 14 ¶¶ 7–9. Unvaccinated service members also could

spread the coronavirus to others, which is especially a problem for the military, given

that many service members work in close quarters or in operational settings (e.g., on


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ships, in deployed austere environments, etc.). Id. ¶ 9; Ex. 15 ¶ 8; Ex. 24 ¶ 7; Ex.

25 ¶ 4; Ex. 27 ¶ 3. Accordingly, even as it relates to individual Plaintiffs, enjoining

the DoD mandate would impact readiness.

        Plaintiffs also request that the Court enjoin DoD and the Military Services

from “taking any adverse employment or disciplinary actions against Plaintiffs for

non-compliance” with the DoD mandate. Proposed Orders ¶ 2. But the military

must have discretion to handle matters of good order and discipline without

interference from the judiciary. Chappell v. Wallace, 462 U.S. 296, 300-01 (1983);

see also Ex. 17 ¶ 19; Ex. 18 ¶ 23. Each Service has a specific process that must be

followed before the implementation of any discipline or adverse employment action.

See Ex. 16 ¶¶ 9–15; Ex. 17 12–17; Ex. 18 ¶¶ 13–21; Ex. 22 ¶¶ 3–12. An injunction

prohibiting the military from initiating or completing that process “would be a

disruptive force as to affairs peculiarly within the jurisdiction of the military

authorities[,]” Orloff, 345 U.S. at 95, and contrary to the public interest, see Guerra,

942 F.2d at 275; Shaw, 2021 WL 1840397, at *10; McBride v. West, 940 F. Supp.

893, 897 (E.D.N.C. 1996).

      Plaintiffs ignore the body of case law requiring judicial deference to the

professional judgment of military leaders and argue only that there is a public interest

in “ensuring the rights of informed consent” and ensuring that their constitutional




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rights are not violated. Pls.’ 2nd Br. 26; Pls. 1st Br. 32–33. But, as shown above,

DoD’s mandate violates neither.

      B.    An Injunction Against FDA Would Greatly Harm Public Health.
      An injunction of FDA’s approval of Pfizer’s vaccine would have an adverse

impact on public health. “The virus’s effects on individual and community health is

well documented.” Castillo v. Whitmer, 823 F. App’x 413, 417 (6th Cir. 2020).

COVID-19 has already infected over 44 million Americans, hospitalized over 3.1

million, and killed over 700,000. Ex. 30 (CDC Weekly Review). So far, over 217

million Americans have received at least one dose of a COVID-19 vaccine. Id.

      Despite these efforts, the virus that causes COVID-19 is still spreading

throughout the United States. 22 The vaccines have been shown to be effective at

protecting people from COVID-19, especially severe illness and death, and “have

been estimated to have already saved hundreds of thousands of lives.” Ex. 13 ¶ 26.

“One of the most significant barriers to widespread vaccination is vaccine hesitancy

and vaccine misinformation.” Id. Because “[a]n injunction here would call into

question the data supporting FDA’s determination that Comirnaty is safe and

effective,” and would cause “considerable public and administrative confusion as to

the effect of the injunction because the identical formulation has been authorized



22
     See COVID Data Tracker, CDC, https://covid.cdc.gov/covid-data-
tracker/#cases_community (last accessed Oct. 20, 2021).

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pursuant to an EUA” such an injunction could “seriously undermine the

government’s efforts to encourage vaccination in all eligible populations by

exacerbating vaccine hesitancy.” Id. “Even a more limited injunction, somehow

limited to these plaintiffs, would generate extraordinary doubt and confusion.” Id.

Any injunction that would cause individuals to hesitate in getting a life-saving

vaccine in the middle of a pandemic that has killed over 700,000 Americans is

unquestionably against the public interest.

                                        ***

      In recognition of the government’s “compelling interest” in “stemming the

spread of COVID-19,” Cuomo, 141 S. Ct. at 67, numerous courts reviewing

“executive action designed to slow the spread of COVID-19” have concluded that

“[t]he public interest in protecting human life—particularly in the face of a global

and unpredictable pandemic—would not be served by” an injunction. Tigges v.

Northam, 2020 WL 4197610, at *10 (E.D. Va. July 21, 2020); see also, e.g., Brown

v. Azar, 497 F. Supp. 3d 1270, 1298 (N.D. Ga. 2020), aff’d, 4 F.4th 1220 (11th Cir.

2021); Does 1-6 v. Mills, 2021 WL 4783626, at *17 (D. Me. Oct. 13, 2021); Am.’s

Frontline Drs., 2021 WL 4546923, at *8; Valdez, 2021 WL 4145746, at *13; Harris,

2021 WL 3848012, at *8. The Court should likewise find that the public interest

weighs heavily against the requested injunction.




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                               CONCLUSION

      For the foregoing reasons, Plaintiffs’ motions for a preliminary injunction

should be denied.


Dated: October 21, 2021
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this submission contains 15,935 words, not including the

case style, signature block, and certificate of service, according to Microsoft Word’s

word count function and thus is in compliance with Local Rule 7.1(F).

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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2021, I electronically filed the foregoing

paper with the Clerk of Court using this Court’s CM/ECF system, which will notify

all counsel of record of such filing.



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